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                         IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE DISTRICT OF DELAWARE

                                                             )   Chapter 11
    In re:                                                   )
                                                             )   Case No. 22-11068 (JTD)
    FTX TRADING LTD., et al.,1                               )
                                                             )   (Lead Case)
                                     Debtors.                )
                                                             )   (Jointly Administered)
                                                             )

       CERTIFICATE OF NO OBJECTION REGARDING ENTRY OF FINAL ORDER
          (I) AUTHORIZING JOINT ADMINISTRATION OF THE EMERGENT
         DEBTOR’S CHAPTER 11 CASE AND (II) GRANTING RELATED RELIEF

             Jody C. Barillare as counsel to Emergent Fidelity Technologies Ltd, as debtor and debtor-

in-possession (the “Emergent Debtor”), hereby certifies as follows:2

             1.     On February 28, 2023, the Emergent Debtor moved for entry of an order

authorizing the joint administration of the Emergent Chapter 11 Case with the FTX Chapter 11

Cases. See D.I. 38, Case No. 23-10149.

             2.     On March 14, 2023, the Court held a hearing to consider, among other things, the

Joint Administration Motion and granted the relief sought in the Motion.

             3.     On April 10, 2023, the Court entered an interim order authorizing the joint

administration in each of the Emergent Chapter 11 Case and the leading FTX Chapter 11 Case (the

“Interim Order”) [D.I. 88, Case No. 23-10149 and D.I. 1246, Case No. 22-11068].




1
  The last four digits of FTX Trading Ltd.’s and Alameda Research LLC’s tax identification number are 3288 and
4063 respectively. Due to the large number of debtor entities in these Chapter 11 Cases, a complete list of the Debtors
and the last four digits of their federal tax identification numbers is not provided herein. A complete list of such
information may be obtained on the website of the Debtors’ claims and noticing agent at
https://cases.ra.kroll.com/FTX. The principal place of business of Debtor Emergent Fidelity Technologies Ltd is Unit
3B, Bryson’s Commercial Complex, Friars Hill Road, St. John’s, Antigua and Barbuda.
2
 Capitalized terms used but not defined herein shall have the meanings ascribed to them in the Emergent Debtor’s
Motion for Entry of an Order (I) Authorizing Joint Administration of its Chapter 11 Case and (II) Granting Related
Relief (the “Joint Administration Motion”) [D.I. 38, Case No. 23-10149].
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       4.        Pursuant to the Interim Order, on April 10, 2023, the Emergent Debtor and the FTX

Debtors served the Interim Order, the Joint Administration Motion, and the supporting declaration

on all parties that requested notice in the Emergent Chapter 11 Case and the FTX Chapter 11 Cases

pursuant to Bankruptcy Rule 2002. See D.I. 1259, Case No. 22-11068.

       5.        The final hearing on the Joint Administration Motion is set for May 17, 2023. See

Interim Order ¶ 2. The deadline for filing a response to entry of a final order on the Joint

Administration Motion was April 24, 2023 (the “Objection Deadline”). See id. ¶ 5.

       6.        As of the filing of this certificate, more than forty-eight (48) hours have elapsed

since the Objection Deadline, and to the best of the knowledge of the undersigned counsel, no

responsive pleading or objection has been filed with the Court on the docket of the Emergent

Chapter 11 Case or the FTX Chapter 11 Cases.

       7.        Accordingly, the Emergent Debtor respectfully requests that the Court enter an

order granting the Joint Administration Motion on a final basis, substantially in the form attached

hereto Exhibit A (the “Proposed Final Order”), and vacate the May 17, 2023 hearing on the Joint

Administration Motion. Attached hereto as Exhibit B is a redline reflecting the changes from the

Interim Order.

       8.        The Emergent Debtor circulated the Proposed Final Order to counsel of record for

the FTX Debtors and the United States Trustee. The FTX Debtors and the United States Trustee

have no objection to entry of the Proposed Final Order.

                                     [Signature page to follow]




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Dated: May 9, 2023                        MORGAN, LEWIS & BOCKIUS LLP
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                                          Counsel for Emergent Fidelity
                                          Technologies Ltd as Debtor and Debtor-in-
                                          Possession




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